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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

FATIMAH INAS McGEE,

             Petitioner,                               Case No. 18-cv-10023
                                                       Hon. Matthew F. Leitman
v.

SHAWN BREWER,

           Respondent.
_______________________________________________________________________/

                                     JUDGMENT

      The above-entitled action came before the Court on a petition for a writ of habeas

corpus. In accordance with the Order entered on this day:

      IT IS ORDERED AND ADJUDGED that the petition for writ of habeas corpus is

DENIED WITH PREJUDICE.

      IT IS FURTHER ORDERED that a certificate of appealability is DENIED.

      IT IS FURTHER ORDERED that permission to appeal in forma pauperis is

GRANTED.

                                                KINIKIA ESSIX
                                                CLERK OF COURT

                                         By:    s/Holly A. Ryan
                                                Deputy Clerk

Approved:

s/Matthew F. Leitman
MATTHEW F. LEITMAN                              Dated: June 24, 2022
United States District Judge                    Detroit, Michigan

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